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 12                        UNITED STATES DISTRICT COURT
 13                     SOUTHERN DISTRICT OF CALIFORNIA
 14

 15    FRV, a Minor, By and Through His         Case No. 21-CV-00165-DMS-BLM
 16    Guardian ad litem, CRISTAL
       CAZARES VALENZUELA; and
 17    SONIA VALENZUELA PEREZ,                  PLAINTIFFS’ NOTICE OF
       Individually,                            DISMISSAL WITHOUT
 18                                             PREJUDICE PURSUANT TO
                           Plaintiffs,          RULE 41(a)(1)(A)(i), FEDERAL
 19                                             RULES OF CIVIL PROCEDURE
       v.
 20    TRI-CITY HEALTHCARE
 21    DISTRICT; TRI-CITY MEDICAL
       CENTER; VISTA COMMUNITY
 22    CLINIC, MELISSA HAWKINS,
       M.D.; ROMANA BAILEY, M.D.; and
 23    DOES 1 through 100,
       Inclusive,
 24                        Defendants.
 25

 26         Please take Notice that, pursuant to Rule 41(a)(1)(A)(i), Plaintiffs hereby
 27   dismiss the above-entitled action, as against defendant United States of America,
 28   without prejudice.
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  1   Dated: February 1, 2021           Respectfully Submitted,
  2                                     KENNETH M. SIGELMAN & ASSOCIATES
  3

  4                               By:   s/Kenneth M. Sigelman
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